                              Case 1:23-mj-00150-GMH Document 13 Filed 07/12/23 Page 1 of 1

AO 93C (08/18) Warrant by Telephone or Other Reliable          Electronic   Means (Page 2)


                                                                                          Return
Case No.:                                       Da~~and time warr~                executed:               Copy of warrant and inventory left with:
23-SW-211                                         6();0        I()~ (()"IA. ~ 0.0                          VY15 \ de          \(011 IUt         e
Inventory made in the presence of:

Inventory of the property taken and name(s) of any person(s) seized:
  Description
  (UIIFOUO)     Cl Scorpion E3 Serial: C193454                                                   (UIIFOUO) Smith and Wesson M&P black 9mm 9 round magazine
  (UIIFOUO)     Smith and Wesson MP shield 20 Serial: LFK6710                                    (UIIFOUO) Tokecy tablet
  (UIIFOUO)     2 vape devices and accessories                                                   (UIIFOUO) Asus laptop
  (UIIFOUO)     Leopard print flash drive                                                        (UIIFOUO) Handwritten note on Clarion paper
  (UIIFOUO)     liploc bag of 11 glass jars of white and yellow pills                            (UIIFOUO) LG cell phone
  (UIIFOUO)      1 bottle zinc 50mg and copper                                                   (UIIFOUO) 45 rounds ammunition inside camouflaged backpack
  (UIIFOUO)      1 bottle Chromium Picolinate                                                    (UIIFOUO) Glass jar with white powder
  (UIIFOUO)      13 glass bottles of white and yellow pills                                      (UIIFOUO) Glass jar with white powder
  (UIIFOUO)     Plastic bag with white pills labeled ""1 PM 2AM Potassium Citrate 90 pills''''   (UIIFOUO) Signature select iodized salt
  (UIIFOUO)     Plastic bag with white pills labeled ""B6/B3""                                   (UIIFOUO) Glass jar with white pills
  (UIIFOUO)     Plastic bag with white pills labeled ""Phytosterols""                            (UIIFOUO) Yellow container with white powder
  (UIIFOUO)     Plastic bag with white pills labeled ""1 PM 30 DIM''''                           (UIIFOUO) Song MP3 IC recorder
  (UIIFOUO)     Plastic bag with white pills labeled ""30 Longjack""                             (UIIFOUO) Glass Jar with black powder
  (UIIFOUO)     Plastic bag with white pills labeled ""NAC 2AM 1PM 90 pills""                    (UIIFOUO) Motorola cell phone with cracked screen
  (UIIFOUO)     Plastic bag with white pills labeled ""Potassium Orotate B13""                   (UIIFOUO) ""The Club"" anti theft device
  (UIIFOUO)     Plastic bag with white pills labeled ""TMG 1AM 30""                              (UIIFOUO) Mini sledge hammer
  (UIIFOUO)     Plastic bag with white pills labeled ""30 C-Methylfolate""                       (UIIFOUO) Olfi camera with amplin micro san disk
  (UIIFOUO)     White hand rolled cigarette with tan substance and loose tan seeds               (UIIFOUO) VYU 360 camera with san disc
  (UIIFOUO)     Plastic bottle of ""Hydroxo Cobalamin"" pills                                    (UIIFOUO) Machete
  (UIIFOUO)      13 magazines                                                                    (UIIFOUO) Amplin dura data micro san disc
  (UIIFOUO)     581 rounds of 9mm ammunition                                                     (UIIFOUO) Micro San Disk Adaptor
  (UIIFOUO)     Handwritten note on stapled 8.5"" by 11"" paper                                  (UIIFOUO) Micro San Disk dated 9/10/2017
  (UIIFOUO)     Handwritten note on small memo pad sheet                                         (UIIFOUO) Micro SanDisk dated 9/10/2017
  (UIIFOUO)     USB on keychain                                                                  (UIIFOUO) Micro SanDisk dated 1/14/2019
  (UIIFOUO)     Sony recorder with microcenter micro san disc                                    (UIIFOUO) Micro SanDisk dated 9/10/2017 in camera
                                                                                                 (UIIFOUO) Nikon Camera and bag with camera accessories and pamphlets
                                                                                                 (UIIFOUO) Make Space Great Again Hat
                                                                                                 (UIIFOUO) Cell Phone Samsung
                                                                                                 (U) Set of keys, six keys, with TrumplPence keychain
                                                                                                 (U) White Ocho Extracts vape pen
                                                                                                 (U) Purple Motorola cellular phone with black and red case
                                                                                                 (U) White and blue Sony Ericsson flip phone, l3101
                                                                                                 (U) Gray Dell Laptop, service tag JJMYB91




                                                                                      Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.




                                                                                                                   Executing officer's signature

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